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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

TANGELO IP, LLC                                    )
                                                   )
               Plaintiff,                          )
                                                   ) Civil Action No. 2:17-cv-739
v.                                                 )
                                                   ) JURY TRIAL DEMANDED
PIER 1 IMPORTS, INC.                               )
                                                   )
               Defendant.                          )
                                                   )

                   PLAINTIFF'S RULE 7.1 DISCLOSURE STATEMENT

        Pursuant to Federal Rule of Civil Procedure 7.1, Plaintiff Tangelo IP, LLC states it has no

parent corporation but its closest corporate relative is Tangelo, LLC, and no publicly held

corporation owns more 10% or more of the stock of Tangelo, LLC or Tangelo IP, LLC.

Dated: November 9, 2017               /s/ Richard C. Weinblatt
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